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14                            FOR THE DISTRICT OF ARIZONA
15
     United States of America,                  No. CR-18-422-PHX-SMB
16
                              Plaintiff,        ATTACHMENTS TO DEFENDANTS’
17                                              MOTION TO DISMISS INDICTMENT
        v.
18

19   Michael Lacey, et al.,

20                            Defendants.

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          Case 2:18-cr-00422-DJH Document 541 Filed 04/22/19 Page 2 of 5



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1          The following materials are being submitted in connection with Defendants’
2    Motion to Dismiss the Indictment, and are identified as Exhibits to that Motion.
3          1.     Exhibit A is a copy of an order and ruling of the California Superior
4    Court for Sacramento County in People v. Ferrer, No. 16FE024013 (Cal. Super. Ct.),
5    entered on August 23, 2017, granting a demurrer and dismissing certain criminal
6    charges the State brought against Michael Lacey, James Larkin and Carl Ferrer.
7          2.     Exhibit B is a portion of the transcript of testimony of Francey Hakes,
8    the National Coordinator for Child Exploitation, Prevention and Interdiction of the
9    Department of Justice, at a September 15, 2010 hearing before the Subcommittee on
10   Crime, Terrorism, & Homeland Security of the House Committee on the Judiciary,
11   111th Cong. 215-17.
12         3.     Exhibit C is a February 27, 2018 letter from Assistant Attorney General
13   Stephen E. Boyd to Congressman Robert W. Goodlatte expressing views of the
14   Department of Justice concerning 18 U.S.C. § 1591 and H.R. 1865.
15         4.     Exhibit D contains two orders of the United States District Court for the
16   Western District of Washington, entered respectively on January 17, 2013, and
17   February 13, 2013 in the matter In re Grand Jury Subpoenas to Backpage.com, LLC
18   and Village Voice Media Holdings, LLC, No. GJ12-172RAJ. These orders are being
19   submitted under seal, as has been done previously in proceedings before this Court, see
20   Declaration of Tom Henze (January 23, 2017), In re Grand Jury Subpoena No. 16-04-
21   108, Exhibits A, B.
22         DATED this 22nd day of April, 2019.
23                                     DAVIS WRIGHT TREMAINE LLP
                                       s/ James C. Grant
24
                                       s/ Robert L. Corn-Revere
25                                     Attorneys for Michael Lacey and James Larkin

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1                               CERTIFICATE OF SERVICE
2          I hereby certify that on April 22, 2019, a true and correct copy of the foregoing
3    document was electronically filed with the Clerk of the United States District Court of
4    the District of Arizona by using the CM/ECF system, and that service will be
5    accomplished by the CM/ECF system to all counsel of record.
6
                                       s/ James C. Grant
7                                      Attorney for Michael Lacey and James Larkin
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